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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
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5
     Attorney for Defendant
6    BASILIO MONTES-SOLORIO
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:09-cr-0329 AWI
                                                      )
12                          Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                      )   CONFERENCE; ORDER
13          v.                                        )
                                                      )   Date: June 7, 2010
14   BASILIO MONTES-SOLORIO,                          )   Time: 9:00 a.m.
                                                      )   Judge: Hon. Anthony W. Ishii
15                          Defendant.                )
                                                      )
16                                                    )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the status conference in the above-captioned matter now set for May 24, 2010, may be
20   continued to June 7, 2010, at 9:00 a.m.
21          This reason for the continuance is because we are seeking additional records to try to determine
22   whether all the cases attributed to him are his and for further plea negotiations. This continuance will
23   conserve time and resources for both parties and the court.
24   ///
25   ///
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii) and (iv).
4                                                                   BENJAMIN B. WAGNER
                                                                    United States Attorney
5
6    DATED: May 20, 2010                                      By:     /s/ Ian Garriques
                                                                    IAN GARRIQUES
7                                                                   Assistant United States Attorney
                                                                    Attorney for Plaintiff
8
9                                                                   DANIEL J. BRODERICK
                                                                    Federal Defender
10
11   DATED: May 20, 2010                                    By:      /s/ Ann H. Voris
                                                                    ANN H. VORIS
12                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
13                                                                  Basilio Montes-Solorio
14
15
16
17                                                     ORDER
18           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii) and
19   (iv).
20
21   IT IS SO ORDERED.
22   Dated:      May 20, 2010                             /s/ Anthony W. Ishii
     0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status Conference
     Hearing; Order                                       -2-
